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              IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF CALIFORNIA




RALPH COLEMAN, et al.,

       Plaintiffs,

            vs.                         No. CIV S-90-0520 LKK JFM P


ARNOLD SCHWARZENEGGER, et al.,

      Defendants.



     TWENTIETH MONITORING REPORT OF THE SPECIAL MASTER
            ON THE DEFENDANTS’ COMPLIANCE WITH
              PROVISIONALLY APPROVED PLANS,
                  POLICIES AND PROTOCOLS

                              PART A



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               TABLE OF ABBREVIATIONS/ACRONYMS


3CMS:            Correctional Clinical Case Manager System

ACH:             Acute Care Hospital

ADD:             Attention Deficit Disorder

ADHD:            Attention Deficit Hyperactivity Disorder

ADL:             Activities of Daily Living

AED:             Automatic Electronic Defibrillator

Ambu bag:        Ambulatory Bag Used for CPR

APP:             Acute Psychiatric Program at Vacaville

ASH:             Atascadero State Hospital

ASMHS:           Administrative Segregation Mental Health Services

ASP:             Avenal State Prison

ASU:             Administrative Segregation Unit

BLS:             Basic Life Support

BMU:             Behavioral Modification Unit

BPT:             Board of Prison Terms

C-file:          Central File

C & PP:          Clinical Policy and Programs

C&PR:            Classification and Parole Representative

CAL:             Calipatria State Prison

CAP:             Corrective Action Plan

CAT II:          Category II
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 CC:               Correctional Counselor

CCAT:            Coordinated Clinical Assessment Team

CCC:             California Correctional Center

CCF:             Community Correctional Facility

CCI:             California Correctional Institution

CCM:             Clinical Case Manager

CCPOA:           California Correctional Peace Officers Association

CCWF:            Central California Women’s Facility

CDC:             California Department of Corrections

CDCR:            California Department of Corrections and Rehabilitation

CEN:             Centinela State Prison

CHCFs:           California Health Care Facilities

CHSC:            Central Health Services Center

CIM:             California Institute for Men

CIW:             California Institute for Women

CM:              Case Manager

CMC:             California Men’s Colony

CMF:             California Medical Facility

CMO:             Chief Medical Officer

CO:              Correctional Officer

COR:             California State Prison/Corcoran

CPER:            Clinical Performance Enhancement and Review Subcommittee

CPR:             Cardiopulmonary Resuscitation

CRC:             California Rehabilitation Center

CSATF:           California Substance Abuse Treatment Facility
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CSH:             Coalinga State Hospital

CSP:             California State Prison

CSP/Corcoran:    California State Prison/Corcoran

CSP/LAC:         California State Prison/Los Angeles County

CSP/Sac:         California State Prison/Sacramento

CSP/Solano:      California State Prison/Solano

CTC:             Correctional Treatment Center

CTF:             California Training Facility/Soledad

CTQ:             Confined To Quarters

CVSP:            Chuckawalla Valley State Prison

CYA:             California Youth Authority

DA:              District Attorney

DAI:             Division of Adult Institutions

DCHCS:           Division of Correctional Health Care Services

DDP:             Developmental Disabilities Program

DDPS:            Distributed Data Processing System

DHS:             Department of Human Services

DMH:             Department of Mental Health

DNC:             Death Notification Coordinator

DNR:             Do Not Resuscitate

DOF:             Director of Finance

DON:             Director of Nursing

DOT:             Directly Observed Therapy

DRC:             Death Review Coordinator
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 DRMC:             Delano Regional Medical Center

DSM:             Diagnostic and Statistical Manual

DTP:             Day Treatment Program

DVI:             Deuel Vocational Institute

EOP:             Enhanced Outpatient Program

EPPD:            Earliest Possible Parole Date

EPRD:            Earliest Possible Release Date

ERDR:            Emergency Response and Death Review Committee

ERRC:            Emergency Response Review Committee

ERV:             Emergency Response Vehicle

ETV:             Emergency Transport Vehicle

FIT:             Focus Improvement Team

Folsom:          Folsom State Prison

FPTTP:           Foreign Prisoner Transfer Treaty Program

FTE:             Full-Time Equivalent

GACH:            General Acute Care Hospital

GAF:             Global Assessment of Functioning

GP:              General Population

HCCUP:           Health Care Cost and Utilization Program

HCM:             Health Care Manager

HCPU:            Health Care Placement Unit

HCQMC:           Health Care Quality Management Committee

HDSP:            High Desert State Prison

HQ:              Headquarters

HS:              Hora Somni/Hour of Sleep
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ICC:             Institutional Classification Committee

ICF:             Intermediate Care Facility

ICP:             Intermediate Care Program

ICU:             Intensive Care Unit

IDTT:            Interdisciplinary Treatment Team

IEX:             Indecent Exposure

IMHIS:           Inmate Mental Health Information System

IMSP:            Inmate Medical System Policy

INS:             Immigration and Naturalization Service

IP:              Inmate Profile

I/P:             Inmate/Patient

ISP:             Ironwood State Prison

IST:             In-Service Training or Incompetent to Stand Trial

ISU:             Investigative Services Unit

KOP:             Keep on Person

KVSP:            Kern Valley State Prison

LCSW:            Licensed Clinical Social Worker

LLE:             Language Learning Enterprises

LOC:             Level of Care

LOP:             Local Operating Procedure

LOU:             Locked Observation Unit

LPN:             Licensed Practical Nurse

LPT:             Licensed Psychiatric Technician

LSW:             Limited Suicide Watch
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 LVN:              Licensed Vocational Nurse

MAR:              Medication Administration Record

MCSP:             Mule Creek State Prison

MDD:              Major Depressive Disorder

MDO:              Mentally Disordered Offender

MH-4:             Mental Health Assessment

MHCB:             Mental Health Crisis Bed

MHOHU:            Mental Health Outpatient Housing Unit

MHP:              Mental Health Program

MHQMS:            Mental Health Quality Management System

MHS:              Mental Health Subcommittee

MHSDS:            Mental Health Services Delivery System

MHSPC:            Mental Health Suicide Prevention Coordinator

MHSR:             Mental Health Suicide Reviewer

MHTS:             Mental Health Tracking System

MOD:              Medical Officer of the Day

MOU:              Memorandum of Understanding

MPIMS:            Madrid Patient Information Management System

MSF:              Minimal Support Facility

MTA:              Medical Technical Assistant

NCF:              Normal Cognitive Functioning

NKSP:             North Kern State Prison

NOS:              Not Otherwise Specified

NPPEC:            Nursing Professional Practice Executive Committee

NVDRS:            National Violent Death Reporting System
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OHU:             Outpatient Housing Unit

OIA:             Office of Investigative Affairs

OJT:             On the Job Training

OP:              Operating Procedure

OT:              Office Tech

PBSP:            Pelican Bay State Prison

PC:              Primary Clinician

PHU:             Protective Housing Unit

PIA:             Prison Industry Authority

POC:             Parole Outpatient Clinic or Psychiatrist on Call

POD:             Psychiatrist on Duty or Psychiatrist of the Day

PPE:             Personal Protective Equipment

PPEC:            Professional Practice Executive Committee

PPRC:            Psychological Peer Review Committee

PSH:             Pallon State Hospital

PSU:             Psychiatric Services Unit

PSW:             Psychiatric Social Worker

PT:              Psychiatric Technician

PTSD:            Post Traumatic Stress Disorder

PVSP:            Pleasant Valley State Prison

QIP:             Quality Improvement Plan

QIT:             Quality Improvement Team

QMAT:            Quality Management Assessment Team

QMT:             Quality Management Team
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 QNC:              Quality Nurse Consultant

R&R:              Receiving & Release

RC:               Reception Center

RJD:              Richard J. Donovan Correctional Facility

RN:               Registered Nurse

RT:               Recreation Therapist

RVR:              Rule Violation Report

SAC:              California State Prison/Sacramento

SCC:              Sierra Conservation Center

SHU:              Security Housing Unit

SI:               Suicidal Ideation

SMTA:             Senior Medical Technical Assistant

SMY:              Small Management Yard

SNF:              Skilled Nursing Facility

SNY:              Sensitive Needs Yard

SOA&P:            Subjective Objective Assessment and Plan

SPC:              Suicide Prevention Committee

SPR-FIT:          Suicide Prevention and Response Focused Improvement Team

SPU:              Special Processing Unit

SQ:               California State Prison/San Quentin

SRA:              Suicide Risk Assessment

SRAC:             Suicide Risk Assessment Checklist

SRC:              Suicide Review Committee

SRN:              Senior Registered Nurse

SSI:              Supplemental Security Income
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 SVP:             Sexually Violent Predator

 SVPP:            Salinas Valley Psychiatric Program

 SVSP:            Salinas Valley State Prison

 TCMP:            Transitional Case Management Program

 THU:             Transitional Housing Unit

 TLU:             Transitional Living Unit

 TPU:             Transitional Program Unit or Temporary Protective Unit

 TTA:             Triage and Treatment Area

 UCC:             Unit Classification Committee

 UCSF:            University of California at San Francisco

 UHR:             Unit Health Records

 UNA:             Unidentified Needs Assessment

 VSPW:            Valley State Prison for Women

 VPP:             Vacaville Psychiatric Program

 WHO:             World health Organization

 WSP:             Wasco State Prison
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